                                 UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
SEPTEMBER 8, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK

ALEX A.                                                                        CIVIL ACTION

VERSUS
                                                                               22-573-SDD-RLB
JON BEL EDWARDS, ET AL.


This matter came on this day for the Court’s Ruling on Motion for Preliminary Injunction.

          PRESENT:        David J. Utter, Esq.
                          Meghan K. Matt, Esq.
                          Counsel for Plaintiffs

                          Connell Lee Archey, Esq.
                          Allena Brooke McCain
                          Lemuel E. Montgomery, III, Esq.
                          Carly H. Chinn, Esq.
                          Anna Morris, Esq.
                          Counsel for Office of Juvenile Justice

          For the oral reasons given, the Plaintiffs’ Second Motion for Preliminary Injunction is

GRANTED.1

          Defendants are hereby enjoined from housing youth in The Office of Juvenile Justice

custody at BCCY-WF referred to herein as Angola.

          Defendants are ordered to move the youth from the Angola facility, the BCCY-WF, no

later than Friday, September 15th, 2023.

          The Court will issue a written ruling consistent with the reasons given today from the

bench which will cite the law and evidence relied upon by the Court this morning.




1
    Rec. Doc. 163.
     Court is adjourned.


                           *****

C: 13b;T-.75 hrs.
S. Thompson/Reporter
